                       SIXTH DISTRICT COURT OF APPEAL
                              STATE OF FLORIDA
                             _____________________________

                                 Case No. 6D2023-2475
                           Lower Tribunal No. 2018-CA-4325-O
                            _____________________________

                     JESUS ELDO TACORONTE and DANIELLE TACORONTE,

                                        Appellants,

                                             v.

DEUTSCHE BANK NATIONAL TRUST CO, as Indenture Trustee, for NEW CENTURY HOME EQUITY
LOAN TRUST 2005-1, IBERIABANK, AVALON PARK PROPERTY OWNERS ASSOCIATION, INC., and
                                 SCOTT VACHON,

                                         Appellees.

                             _____________________________

                      Appeal from the Circuit Court for Orange County.
                                Margaret H. Schreiber, Judge.

                                      August 27, 2024

PER CURIAM.

      AFFIRMED.

WHITE, MIZE and GANNAM, JJ., concur.


Tanner Andrews, of Tanner Andrews, P.A., DeLand, for Appellants.

Eric M. Levine and Adam G. Schwartz, of Atlas | Solomon, PLLC, Stuart, for Appellee, Deutsche
Bank National Trust Co, as Indenture Trustee, for New Century Home Equity Loan Trust 2005-
1.

No Appearance for Appellees, Iberiabank, Avalon Park Property Owners Association, Inc., and
Scott Vachon.

     NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING AND
                  DISPOSITION THEREOF IF TIMELY FILED
